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                                             EXHIBIT “B”

                                         DECLARATION




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 7

MERIDIAN AUTOMOTIVE SYSTEMS,                       Case No. 09-12806 (MFW)
INC. et al

                                     Debtors.1

   DECLARATION OF MATTHEW TOMLIN IN SUPPORT OF FIRST OMNIBUS
(SUBSTANTIVE) OBJECTION TO CERTAIN CLAIMS PURSUANT TO SECTION 502
 OF THE BANKRUPTCY CODE, RULES 3007 AND 9014 OF THE FEDERAL RULES
        OF BANKRUPTCY PROCEDURE AND DEL. BANKR. L.R. 3007-1

         I, Matthew Tomlin declare that the following is true to the best of my knowledge,

information and belief:

         1.       On August 7, 2009 (the “Petition Date”), the above-captioned debtors (the

“Debtors”) filed a petition for relief under Chapter 11 of 11 U.S.C. § 101 et seq. in the

Bankruptcy Court for the District of Delaware (the “Court”).

         2.       On or about the Petition Date, George L. Miller was appointed by the Office of

the United States Trustee to serve as the duly qualified Chapter 7 Trustee for the estates (the

“Estates”) of the Debtors.

         3.       By Order dated December 15, 2009, the Bankruptcy Court approved the Chapter

7 Trustee’s Application to Employ Miller Coffey Tate LLP as the Chapter 7 Trustee’s

accountants (the “Accountants”) [Docket No. 67].         I am one of the Accountants assisting the

1
  The Debtors in these chapter 7 cases, along with each of Debtors’ bankruptcy case number,
are: Meridian Automotive Systems, Inc. (09-12806); Meridian Automotive Systems – Angola
Operations, Inc. (09-12807); Meridian Automotive Systems – Composites Operations, Inc. (09-12808);
Meridian Automotive Systems – Construction, Inc. (09-12809); Meridian Automotive Systems – Detroit
Operations, Inc. (09-12810); Meridian Automotive Systems – Grand Rapids Operations, Inc. (09-12812);
Meridian Automotive Systems – Heavy Truck Operations, Inc. (09-12813); Meridian Automotive
Systems – Mexico Operations, LLC (09-12814); and, Meridian Automotive Systems – Shreveport
Operations, Inc. (09-12816).




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Chapter 7 Trustee in reviewing and analyzing the filed proofs of claim and the Debtors’ books

and records (the “Books and Records” to determine the validity of the filed proofs of claim (the

“Proofs of Claim”) asserted against the Estates.

         4.       I submit this Declaration (the “Declaration”) in support of the First Omnibus

(Substantive) Objection to Certain Claims Pursuant to Section 502 of the Bankruptcy Code,

Rules 3007 and 9014 of the Federal Rules of Bankruptcy Procedure and Del. Bankr. L.R. 3007-1

(the “First Omnibus Objection”).2

         5.       I have reviewed the First Omnibus Objection and I am aware of the statements

contained therein, which statements are true and correct to the best of my knowledge,

information and belief.

         6.       I make this Declaration on the basis of my review and analysis of the Debtors’

Books and Records and the official register of claims (the “Claims Register”), information

provided by the Chapter 7 Trustee, the docket, and the Proofs of Claim filed in these cases.

         7.       The information contained in “Exhibit “A” attached to the First Omnibus

Objection is true and correct to the best of my knowledge (the “Disputed Claims”) on a

substantive basis for the reasons described below.

         8.       By the First Omnibus Objection the Trustee objects to each of the Priority

Reclassified Claims identified on Exhibit “A” of the First Omnibus Objection because they

improperly assert the extent of their “priority” claim under section 507(a) of the Bankruptcy

Code and/or are not a claim that should be classified with priority as asserted in the Priority

Reclassified Claims. Accordingly, the Trustee objects to the Priority Reclassified Claims for the

reasons set forth under the heading of “Reason for Modification” on Exhibit “A” to the First
2
 Unless otherwise defined herein, all capitalized terms shall have the meanings set forth in the First
Omnibus Objection.


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Omnibus Objection and seeks to allow such claims in the priority and amounts set forth in the

column identified as “Modified Claim Amount and Priority Status” on Exhibit “A” to the First

Omnibus Objection without prejudice to the Trustee’s right and ability to raise any further

objection.

                                                  Conclusion

         9.       Based upon my review and analysis of the Disputed Claims, the Claims Register

and certain Books and Records of the Debtors, I believe that granting the relief requested in the

First Omnibus Objection is appropriate, correct and also in the best interests of the Debtors’

Estates and creditors.


         I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.



Dated: January 7, 2021                           /s/ Matthew Tomlin
                                                 _______________________________
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